                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                               DOCKET NO.: 3:09MJ273-V


UNITED STATES OF AMERICA            )
                                    )
            v.                      )                           ORDER
                                    )
BRANDON LEE EVANS,                  )
            Defendant.              )
____________________________________)

        THIS MATTER is before the Court on the Government’s “Notice of Appeal and Motion

for Revocation and Stay of Magistrate Judge’s Release Order “ pursuant to 18 U.S.C. § 3145(a)(1),

filed December 4, 2009. Defendant submitted a brief in opposition on December 7, 2009. On

December 8, 2009, the undersigned issued an order staying Defendant’s release pending review.

        Defendant had his original detention hearing on Friday, December 4, 2009, before United

States Magistrate Judge David S. Cayer. At the conclusion of that hearing, Defendant was deemed

to be eligible for bail. More specifically, the magistrate judge authorized Defendant’s release on

bond with Location Monitoring and home detention subject to a $50,000.00 unsecured bond, co-

signed by both parents, and surrender of passport or prohibition on obtaining a passport.

        This Court reviews de novo the magistrate judge's release order. 18 U.S.C. §3145(b); United

States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the audio recording

of the detention hearing before the magistrate judge as well as the contents of the criminal file in this

matter, including the Pretrial Services report and recommendation.

        The Defendant is charged by way of Criminal Complaint with violations of 21 U.S.C. §§ 846

and 841(a)(1), namely conspiracy to distribute cocaine, and possession of cocaine with intent to

distribute. Given the existence of probable cause that Defendant committed an offense for which

a maximum term of imprisonment of ten (10) years or more is prescribed in the Controlled

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     Case 5:09-cr-00049-KDB-DCK              Document 11         Filed 12/10/09       Page 1 of 3
Substances Act, a rebuttable presumption arises that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community. 18

U.S.C. §3142(e). In determining whether there are conditions of release that will reasonably assure

the appearance of the Defendant and the safety of other persons and the community, the Court

considers all evidence regarding:

       (1)       the nature and circumstances of the offense charged (including whether the offense
                 if a crime of violence or involves a narcotic drug);
       (2)       the weight of the evidence against the person;
       (3)       the history and characteristics of the person, including —
                          (A) the person’s character, physical and mental condition, family ties,
                          employment, financial resources, length of residence in the community,
                          community ties, past conduct, history relating to drug or alcohol abuse,
                          criminal history, and record concerning appearances at court proceedings;
                          and
                          (B) whether, at the time of the current offense or arrest, the person was on
                          probation, on parole, or on other release pending trial, sentencing, appeal, or
                          completion of sentence for an offense under Federal, State, or local law; and
       (4)       the nature and seriousness of the danger to any person or the community that would
                 be posed by the person's release. . .

18 U.S.C. §3142(g).

       Upon review of these factors, the Court agrees that release on bond, with Location

Monitoring and home detention is appropriate. While Defendant has reportedly admitted

involvement in the charged drug conspiracy,1 the remaining factors weigh in favor of release. First,

the offense charged is not considered a crime of violence and the Government doesn’t express any

serious concern that this Defendant poses a danger to the community.2 Defendant, age twenty-seven,

has lived in Catawba County his entire life. Prior to his arrest, Defendant lived with his parents who


       1
           See United States v. Lowman, et al., 5:09CR49-V.
       2
          During the detention hearing, defense counsel represented to the Court that the case agent
indicated to counsel during a phone interview that Defendant Evans was not suspected of firearm use in
connection with the charged offenses.

                                                    2



     Case 5:09-cr-00049-KDB-DCK               Document 11        Filed 12/10/09       Page 2 of 3
apparently continue to provide support. Defendant was employed until recently and reports no mental

health or substance abuse issues. Although the fact that Defendant’s most recent line of work was

in law enforcement is troubling, he is no longer employed by the Catawba County Sheriff’s

Department and it does not appear at this time that Defendant’s job was integral to his role in the

alleged drug conspiracy. Defendant also lacks the financial resources with which to flee. Finally,

unlike many defendants that “graduate” to the federal system following years of low to mid-level

drug dealing (and a revolving door in and out of the state court system), this Defendant has no prior

criminal history. In short, the history and characteristics unique to this Defendant are sufficient to

rebut the statutory presumption.3

       Accordingly, the Court finds the conditions of release specified by magistrate judge to be

appropriate. The Government’s motion to revoke bond is DENIED. Defendant may be released as

soon as the Location Monitoring Program is made available to the Defendant.


                                                Signed: December 10, 2009




       3
             The Court also notes that release is recommended by Pretrial Services. Relying on an
automated tool for determing Pretrial Risk Assessment (“PRTA”) made available late November 2009,
the Pretrial Services Officer shared that defendants such as Defendant Evans have roughly a 5%
likelihood of failure to appear and a 5% likelihood of being re-arrested if released on bond.

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    Case 5:09-cr-00049-KDB-DCK              Document 11        Filed 12/10/09      Page 3 of 3
